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                 EXHIBIT 5
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 1   LTL ATTORNEYS LLP
     Caleb H. Liang (Bar No. 261920)
 2   300 S. Grand Ave., 14th Floor
     Los Angeles, California 90071
 3
     Tel: 213-612-8900
 4   Fax: 213-612-3773
     caleb.liang@ltlattorneys.com
 5
     Co-Counsel to Plaintiffs Pumaro LLC,
 6   Artiom Frunze, Hayden Hsiung, and Gijs Matser,
     and Additional Counsel for the Class
 7

 8

 9                           UNITED STATES DISTRI CT COURT
10                        NORTHERN DISTRICT OF CALIFO RNIA
11

12                                                    Master File No. 17-cv-06779-RS
     IN RE TEZOS SECURITIES LITIGATION
13                                                    CLASS ACTION
14   This document relates to:                        DECLARATION OF CALEB H. LIANG
                                                      IN SUPPORT OF LEAD COUNSEL’S
15          ALL ACTIONS.                              MOTION FOR AN AWARD OF
                                                      ATTORNEYS’ FEES AND LITIGATION
16                                                    EXPENSES AND CHARGES
17                                                    FILED ON BEHALF OF PLAINTIFFS
                                                      PUMARO, LLC, ARTIOM FRUNZE,
18                                                    HAYDEN HSIUNG, AND GIJS MATSER
19                                                    Date:        August 27, 2020
                                                      Time:        1:30 p.m.
20                                                    Courtroom:   3, 17th floor
                                                      Judge:       Hon. Richard Seeborg
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     DECLARATION OF CALEB H. LIANG
                 Case 3:17-cv-06779-RS Document 257-5 Filed 07/28/20 Page 3 of 20



 1               I, Caleb H. Liang, Esq., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

 2         1.           I am admitted to practice law in the State of California. I am a partner and

 3   managing member of the law firm LTL Attorneys LLP (“LTL”), co-counsel of record for

 4   Plaintiffs Pumaro LLC, Artiom Frunze, Hayden Hsiung, and Gijs Matser, and Additional

 5   Counsel for the Class. I respectfully submit this declaration in support of Lead Counsel’s

 6   Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses.

 7         2.           I have personally participated in, overseen, and monitored the prosecution of this

 8   Action, and have otherwise been kept informed of developments in this Litigation by attorneys

 9   working with me and under my supervision. Thus, if called upon, I can testify to the matters set

10   forth herein.

11         3.           LTL has prosecuted this litigation solely on a contingent-fee basis, and has been

12   at risk it would not receive any compensation for prosecuting claims on behalf of the putative

13   class. While LTL devoted its time and resources to this matter, it has foregone other legal work

14   for which it would have been compensated.

15         4.           In addition to presently serving as co-counsel for Plaintiffs Pumaro LLC, Artiom

16   Frunze, Hayden Hsiung, and Gijs Matser, and Additional Counsel for the Class, LTL also

17   previously served as the court-appointed Co-Lead Counsel with the law firm of Hung G. Ta, Esq.

18   PLLC (“HGT Law”) from March 2018 to April 2019. In this capacity, LTL played an integral

19   role in the litigation and its settlement, including:

20          i.      Research and investigation into the novel application of U.S. securities laws to
                    Cryptocurrency Initial Coin Offerings (“ICO”), and ongoing review, analysis, and
21                  application of new SEC findings and guidance as well as Court rulings throughout the
                    country on the same.
22
          ii.       Analysis and application of various news media, publications, and statements made
23                  by the Defendants to the allegations and claims in the Complaint.

24        iii.      Preparation and briefing of contested Motions for Appointment of Lead Counsel,
                    which resulted in LTL and HGT Law’s appointment as Co-Lead Counsel in March
25                  2018.

26        iv.       Assistance in the drafting and preparation of a Consolidated Complaint.

27         v.       Research, briefing, and oral argument in successfully opposing Defendants’ Motions
                    to Dismiss, with particular emphasis on Defendants’ challenges to jurisdiction, forum,
28                  choice of law, and conflict of law.

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 1       vi.      Settlement negotiations and participation in the first private mediation, including
                  facilitating pre-mediation exchange of information and term sheets and the drafting
 2                and analysis of mediation briefs.

 3       vii.     Research, investigation, meet and confer efforts, and resolution of updated
                  contribution terms as well as arbitration agreements Defendants issued after the filing
 4                of the action to ensure any updated terms did not affect the rights of putative class
                  members.
 5
        viii.     Compliance with Rule 26 and related conferences, and the preparation and review of
 6                initial disclosures for all parties.

 7       ix.      Preparation and propounding of multiple sets of written discovery on behalf of
                  numerous named plaintiffs to all Defendants, preparing responses and supplemental
 8                responses to the same, review and analysis of multiple rounds of voluminous
                  document production by each of the Defendants, extensive meet and confer efforts,
 9                research into the assertion of various privileges including marital and privacy
                  privileges, research into Swiss law and efforts by Defendants to prevent U.S. court-
10                ordered discovery, research into ESI and meet and confer efforts regarding forensic
                  imaging of computers and personal devices, preparation of protective orders and meet
11                and confer efforts regarding violations of the same, and briefing and resolving
                  multiple discovery disputes with the special discovery master.
12
          x.      Research, investigation, and resolution of Defendants’ challenges to named plaintiffs,
13                preparation and full briefing of a motion to substitute lead plaintiff, interviews and
                  investigations into additional class representatives.
14
         xi.      Preparation, issuance, and extensive meet and confer efforts with third party counsel
15                in regards to numerous subpoenas for key third party discovery, including to Tim
                  Draper, Cloudflare, Polychain, Olaf Carlson-Wee, Medium, Substack, and Amazon
16                Web Services, among others, and review and analysis of productions in response.

17       xii.     Research, investigation, and interviews in preparation for the retention of potential
                  blockchain experts.
18
        xiii.     Assistance with the drafting and preparation of a file-ready class certification motion.
19
        xiv.      Preparation and defending the depositions of Artiom Frunze and Arman Anvari
20
         xv.      Settlement negotiations and participation in the second private mediation, including
21                facilitating pre-mediation exchange of information and term sheets and the drafting
                  and analysis of mediation briefs.
22

23        5.         LTL’s work on this matter was performed primarily by the following attorneys:

24        6.         I am a partner and managing member of LTL. I have practiced law for 12 years,

25   with a focus on complex litigation and class actions. Enoch Liang is a founding member of LTL.

26   He has practiced law for 21 years, with a focus on complex commercial litigation and intellectual

27   property. A fuller description of our background and experience is set forth in the firm resume

28   attached hereto as Exhibit A. In this litigation, Enoch and I were responsible for supervising all

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 1   aspects of the firm’s investigation, research, pleadings, discovery, motion practice, and

 2   settlement negotiations. We were primarily focused on case management and litigation strategy,

 3   including important pleadings and law and motion such as motions for lead counsel, the

 4   consolidated complaint, motions to dismiss, and certification motions; the overall discovery plan;

 5   and strategy towards resolution.

 6        7.        Alex Hu was senior counsel at LTL before recently taking an in-house position.

 7   He has practiced for 9 years, with a focus on complex commercial litigation. He has represented

 8   clients in both federal and state courts as well as before arbitration panels in a broad range of

 9   cases including securities, contract, trademark, patent, and trade secrets disputes. His practice

10   also involves class and representative actions. Prior to joining LTL, Alex served for two years as

11   a law clerk to Hon. Charlene Honeywell of the United States District Court for the Middle

12   District of Florida. He started his career as a litigation associate at Quinn Emanuel’s Los

13   Angeles office and then Davis Polk & Wardwell’s Silicon Valley office, and is a Harlan Fiske
14   Stone Scholar of Columbia Law School. In this action, Alex was the primary attorney handling
15   all day to day matters in all aspects of the litigation, and supervised and managed younger

16   associates with respect to research and discovery.

17        8.        Dat Nguyen is a senior associate at LTL, having practiced for 9 years with a focus

18   on complex commercial litigation.        He has extensive experience with a wide range of

19   technologies including but not limited to: semiconductors, software, networking systems,

20   telecommunications, blockchain, smart contracts, AI, virtual reality, augmented reality, audio,

21   and video encoding standards, cellular and Wi-Fi standards, graphics processing, and physics

22   processing. Prior to joining LTL, Dat was VP of Special Projects at a smart contracts/blockchain

23   startup called Sagewise. He is well regarded in the blockchain space and has been invited to

24   speak at numerous conferences, before various governments, and law firms on blockchain and

25   smart contracts. In this action, Dat brought his expertise in blockchain and cryptocurrency to

26   bear on all aspects of discovery, particularly with regard to third party discovery and experts, as

27   well as the parameters for settlement negotiations.

28        9.        Melanie Tiongson was a first-year associate at LTL and a graduate of U.C.

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 1   Berkeley law school. She assisted in extensive and novel research with respect to ICOs and the

 2   application of U.S. Securities law, as well as discovery and document review. Lizzie Dinh,

 3   Joshua Le, and Blake Guerrero are younger associates at LTL and also graduates of U.C.

 4   Berkeley law school that conducted similar work.

 5       10.            Attorneys and Professional Support Staff at my firm billed the following

 6   aggregate hours to this matter as of the date of filing, with fees applied at the firms current

 7   billing rates:

 8                 Timekeeper          Type      Hours       Hourly Rate         Total

 9
                   Enoch Liang          P        63.80          $900            $57,420
10
                   Caleb Liang          P        189.60         $850           $161,160
11

12        Prashanth Chennakesavan       P         7.70          $850            $6,545

13
                      Alex Hu           A        680.80         $800           $544,640
14
                   Dat Nguyen           A        153.60         $750           $115,200
15

16                Blake Guerrero        A        16.00          $500            $8,000

17               Melanie Tiongson       A        111.60         $250            $27,900

18
                    Lizzie Dinh         A        26.90          $250            $6,725
19
                    Joshua Le           A         2.50          $250             $625
20

21               Katie Tokushige        PL       15.60          $150            $2,340

22
                  Erika Santoya         PL        1.30          $150             $195
23
                 Neil Richardson        PL        0.70          $150             $105
24

25       Total                                 1,2710.10                       $930,855

26
               P = Partner; A = Associate; PL = Paralegal
27
         11.            Attached as Exhibit B is a summary chart describing the work described in the
28
     preceding paragraph above.

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 1       12.          LTL Attorneys LLP directly seeks payment of the following expenses and

 2   charges directly related to the litigation of this action (which have been summarized in

 3   categories):

 4                                            Category                      Expense

 5
                        Consultants                                             $437.50
 6
                        Expert Witnesses                                              $
 7

 8                      Travel (Flights, Lodging, Meals)                      $11,322.50

 9
                        Document Review Software                                      $
10
                        Filing Fees / Court Fees                               $1,085.80
11

12                      Legal Research                                                $

13                      Mediation Fees                                                $

14
                        Court Reporters / Depositions                                 $
15
                        Printing                                               $1,315.15
16

17                      Process Servers                                        $5,673.29

18
                        Shipping & Postage                                       $33.66
19
                        Total Expenses                                        $19,867.90
20

21

22             I declare under penalty of perjury that the foregoing is true and correct. Executed on this

23   28th day of July 2020, at Los Angeles, California.

24

25                                                         By: /s/ Caleb H. Liang
                                                           Caleb H. Liang
26                                                         LTL Attorneys LLP
                                                           300 S. Grand Ave., 14th Floor
27                                                         Los Angeles, CA 90071
                                                           (212) 612-8900 phone
28                                                         caleb.liang@ltlattorneys.com
                                                           Co-Counsel to Plaintiffs
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 1                                         Pumaro LLC, Artiom Frunze, Hayden Hsiung,
                                           and Gijs Matser
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               Exhibit A
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                                        FIRM RESUME
LTL Attorneys LLP (“LTL”) is an AV-Rated litigation-only firm with three offices in California
(Los Angeles, San Francisco, and Orange County) and one office in New York City. As the first
spin-off of the international firm Quinn Emanuel Urquhart & Sullivan, LLP, our practice is
devoted solely to trials, litigation and arbitrations in the areas of intellectual property, commercial
disputes and class actions. With 25 attorneys, LTL is believed to be the largest minority-owned
litigation-only firm in the country, serving global clients with their most complex matters.

LTL has been recognized for its outstanding and innovative legal work. We were named to the
US News & World Report’s Best Lawyers List from 2018-2020; selected to the National Law
Journal’s 2017 Elite Boutiques Trailblazers List (one of 18 firms nationally); named as One of the
Best Firms at Developing and Implementing Alternative Fee Arrangements and as a 2016 Client
Service A- Team (BTI Consulting); named the 2015 Law Firm of the Year by the National Asian
Pacific American Bar Association; and selected to the 2014 National Law Journal Litigation
Boutiques Hot List (one of ten firms nationally). Our attorneys have been honored as among the
“Top 20” in California, “Best Lawyers...in America” and “Super Lawyers” by leading legal
publications and organizations. Clients and opposing counsel have referred to us as “the finest trial
lawyers in the country,” “outstanding, tenacious, and cost effective,” and “creative.”

Our professional and academic credentials are second to none, and our attorneys are heavily
involved with several organizations including AIPLA, Asian American Bar Associations,
Women’s Intellectual Property Association, Inn of Court, and several others, where their
involvement insures that our attorneys stay on the forefront of the most pressing legal issues and
developments.

LTL’s attorneys have extensive complex class-action litigation experience at every level of the
state and federal court systems. We have successfully litigated and continue to litigate class
disputes, including the following:

   •   Obtained $11.5 million class settlement as class counsel representing class of over three
       thousand technicians in a wage and hour class action against a dental laboratories company
       (Huynh v. James R. Glidewell Dental Ceramics, Inc., Case No. 30-2009-00180107-CU-
       OE- CXC, OC Superior Court).
   •   Successfully represented global network equipment manufacturer TP-Link USA
       Corporation in consumer class action for alleged violations of California Consumer Legal
       Remedies Act, California Business and Professions Code Sections 17200 et seq., and
       California Business and Professions Code Sections 17500 et seq. involving advertised data
       transmission speeds of powerline communication devices. Obtained dismissal with
       prejudice without class certification (Joe Arroyo v. TP-Link USA Corporation et al., Case
       No. 2:16-CV-01044, U.S. District Court, Central District of California).
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    •   Appointed class counsel, through final approval, in obtaining class settlement valued at
        over $5 million against a nationwide calling card company (Sabaj v. Nobel, Case No. BC
        435467, LA Superior Court).
    •   Represented plaintiffs in a consumer class action alleging false advertising against
        Diamond Foods, Inc. (Wise v. Diamond Foods Inc., Case No. 39-2010-00249819-CU-MT-
        STK, San Joaquin Superior Court).
    •   Defeated class certification in wage and hour class action involving manufacturing and
        recycling employees (Magana v. Guangyi Group, Case No. BC432188, LA Superior
        Court).
    •   Defeated two separate class certification motions in wage and hour class actions involving
        various types of nursing employees (Kimani v. Healthcare Investments, Inc., Case No.
        BC432360, LA Superior Court).
    •   Obtained an Order Dismissing Class Allegations in several wage and hour class actions
        against a property management company (Anthony v. AMC LLC, Case No. BC470800, LA
        Superior Court; Delgado v. Apartment Management Consultants, LLC, Case No.
        BC470626, LA Superior Court; Nicole Danileian v. AMC LLC, Case No. BC470859, LA
        Superior Court; Anthony v. AMC LLC, Case No. BC473723, LA Superior Court).
    •   Obtained favorable settlement defending an insurance claims administrator against a class
        action lawsuit alleging employee misclassification (Gaa v. Intercare Holdings, Case No.
        BC489800, LA Superior Court).
    •   Successfully defended Wal-Mart Stores against wage & hour class action lawsuit alleging
        unpaid overtime pay related to off-the-clock activities. Obtained dismissal with prejudice.
        (German v. Wal-Mart Stores, Inc., Case No. 5:14-cv-00945-TJH (SPx), U.S. District
        Court, Central District of California).
    •   Obtained $995,000.00 class settlement representing more than 9,000 individuals in
        consumer class action regarding infant and toddler car seat products (Kopin v. Orbit Baby,
        Inc., et al., Case No. RG16813239, Alameda Superior Court

LTL’s attorneys currently include the following:

James M. Lee – Co-Founder
James Lee serves as LTL’s co-managing partner and heads the firm’s complex commercial
litigation and business contingency practices. He has handled complex litigation matters at both
Quinn Emanuel and Morgan Lewis before co-founding the firm. James has extensive experience
litigating intellectual property matters, software related litigation, fraud cases, commercial
disputes, class actions, privacy and cybercrime matters, antitrust, and other complex claims.

He has most recently obtained several seven figure awards in trials and arbitration matters and has
favorably settled a number of other cases with several matters in which combined recoveries were
well over $300 million.

James is a graduate of Stanford Law School where he has taught trial advocacy. James is AV-rated
by Martindale-Hubbell.
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    Representative Experience
    • Served as co-lead counsel to the founder of social media app Snapchat in lawsuit over
       ownership claims against co-founders and company. Case settled for $157 million.
    • Prevailed in a six-day jury trial regarding trademark infringement claims brought by Lush
       Cosmetics in which they sought $30 million in damages.
    • Obtained $100 million settlement in breach of contract dispute on behalf of publicly traded
       Taiwanese energy company against U.S. NYSE company.
    • Obtained $1.7 million in federal trial in breach of contract action on behalf of VIZIO
       against contract manufacturer for manufacturing defects.
    • Settled complex adulterated food product matter on behalf of Herbalife against various
       suppliers for confidential terms.
    • Successfully defended client against $18 million breach of contract claim brought by
       subsidiaries of a $1.4 billion Japanese conglomerate, where plaintiffs walked away with
       NO net monetary damages.
    • Defense verdict in an investment fraud and breach of fiduciary duty trial.
    • Settled bad faith insurance claim for $27 million on behalf of plaintiffs.
    • Represented Actuate Corporation (now part of OpenText) in various copyright
       infringement and licensing dispute matters across the country resulting in combined
       recoveries in the 8 figures.
    • Obtained $3 million award in a joint venture/fraud dispute.
    • Obtained $1.2 million settlement in Ponzi-scheme case against international bank.
    • Obtained a $2.7 million victory before the Court of Appeal in connection with the 1998
       landslide in Orange County.
    • Obtained $1.6 million award in shareholder’s dispute.
    • Obtained $1.4 million in a real estate transaction litigation matter.
    • Represented LAUSD in a multi-million dollar breach of contract/commercial dispute.
    • Obtained settlement valued at over $4.1 million in international arbitration against
       NASDAQ company involving breach of buyout agreement.
    • Represented one of Korea’s largest electronic companies involving the theft of one of the
       largest trade secrets cases to hit the company. The former employee fled and avoided legal
       process after transmitting highly confidential strategic plans.
    • Represented one of America’s largest and fastest growing companies against insurance
       company for bad faith denial of coverage in connection to a trademark lawsuit. After
       discovery and successful motions to compel, obtained critical documents demonstrating
       bad faith denial of benefits. Insurance company immediately settled for a confidential six
       figure sum in excess of actual loss.
    • Represented NYSE traded software publisher’s copyrights and related intellectual property
       against infringers in a number of matters.
    • Represented a government contractor in a $10 million breach of contract action in United
       States District Court for the Eastern District of Virginia. Prevailed on motion to dismiss.
    • Successfully opposed a TRO request to take over company on behalf of minority
       shareholder. Settled case on confidential terms immediately thereafter.
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    •   Represented NASDAQ listed company in a $2.6 million breach of contract dispute
        involving long term lease agreement. Settled case on favorable terms after mediation
    •   Represented large cable station in a copyright infringement action. Prepared successful
        summary adjudication motions and reduced scope of case from six potential infringements
        to only one.
    •   Obtained summary judgment in breach of contract action where plaintiff sought $5 million
        in damages. Settled remaining fraud claim with no payment of money.

    Speaking Engagements
    • Managing Multi-Jurisdictional Trademark Disputes, panel speaker, IPBA, Kuala Lumpur,
       April 16, 2016
    • Leading Change: Two Smaller Firms’ Success Stories, Thomson Reuters (April 27, 2016)
    • Global IP Litigation, panel speaker, IAKL, Washington D.C., September 30, 2016
    • Business Development for Litigators: Best Practice and Innovative Techniques, October
       27, 2016, Practical Law by Thomson Reuters
    • BCLT Berkeley Law, Berkley Center Law & Technology, Impact of Artificial Intelligence
       & Technological Innovation on the Practice of Law, March 2, 2017
    • Managing Litigation Using Creative Methods and Efficient Tools, IP Law Summit, Las
       Vegas, March 27, 2017
    • Age of A.I.: How is Artificial Intelligence Transforming and Disrupting the Practice of
       Law, MCCA Global TEC Form (G-TEC), June 19, 2017
    • Artificial Intelligence and the Law, panel speaker, IAKL, Seoul, Korea, September 2017
    • Artificial Intelligence and the Future of Litigation, Law.com, Podcast, October 2, 2017

Enoch H. Liang – Co-Founder
Enoch Liang is the firm’s Managing Partner and also heads the firm’s Intellectual Property (IP)
litigation practice. He is an experienced IP attorney, and has litigated all facets of IP disputes
(including patents, copyrights, trademarks, trade dress, trade secrets and idea theft claims). Enoch
has served clients across numerous industries including in technology, retail, cosmetics,
automotive, and entertainment, in cases venued in California, Delaware, Texas, Ohio, and New
York, as well as in China and Hong Kong.

Enoch is AV-rated by Martindale-Hubbell and in 2016, the BTI Consulting Group honored Enoch
as a “Client Service All-Star,” one of only 30 IP attorneys nationwide in the entire report. He has
been named a “Super Lawyer” by Thomson Reuters multiple times. Enoch was also recently
selected by his peers for inclusion on the 2018 list of The Best Lawyers in America©, after being
named a “Recommended Expert” in trademark litigation by the World Trademark Review.
American Law Media and Martindale- Hubbell also rated him as a “2014 Top Rated Lawyer in
Intellectual Property Law.”

In addition to IP matters, Enoch has successfully represented clients in business litigation,
including in partnership disputes, breach of contract disputes, and consumer class actions. Since
mid-2010, Enoch has argued (and won) all the appeals he has handled, including four in the Ninth
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Circuit and several more in California state courts. In that same timeframe, Enoch served as the
first chair trial lawyer in seven trials or arbitrations – winning all of them.

Enoch also has had the unique distinction of practicing commercial and IP litigation with leading
law firms in both the United States and China. This provides him with rare experience and
perspective regarding the legal systems of the world’s 2 largest economies, as well as an extensive
network of contacts in both countries. In China and in Hong Kong, Enoch focused his practice on
IP matters, including the acquisition and enforcement of IP rights. He has also personally attended
numerous trials in China. With this background, Enoch is well-positioned to counsel clients
engaged in cross-border business—either from the US going to China, or vice versa—as well as
the attendant litigation that often arises.

    Representative Experience
    • Acted for defendant in complex, multi-jurisdictional trademark dispute where trademark
       owner requested $30M in damages in the US case; complete defense verdict after 6-day
       jury and bench trial in CDCAL; appeal to the Ninth Circuit pending.
    • Lead trial counsel for defendant in AAA arbitration over distributorship contract in Turkey;
       complete defense verdict.
    • Lead trial counsel for defendant in bench trial over patent ownership dispute; complete
       defense verdict.
    • Lead trial counsel for plaintiff in 2-week jury trial over dispute over dilution of minority
       shareholder’s shares by majority shareholder; 12-0 jury verdict for plaintiff, including
       punitive damages.
    • Lead trial counsel for defendant in 2-week jury trial over construction dispute; jury returned
       verdict of less than 13% of plaintiffs request for damages; verdict was much less than what
       client offered to settle the case.
    • Lead counsel for two defendants in federal court copyright and trade dress infringement
       action; obtained summary judgment less than one week from trial.
    • Lead counsel for leading Taiwanese entertainers in breach of contract case where
       entertainers did not perform at a concert; substituted in only 21 days before trial and
       obtained very favorable settlement.
    • Argued and won complex 9th Circuit trademark appeal overturning district court ruling;
       substituted in as counsel for oral argument after briefs were already completed.
    • Argued and won 9th Circuit copyright/trade dress appeal with novel issues; 9th Circuit
       affirmed two weeks after oral argument.
    • Represented bank in 3-week arbitration over failed sub-prime credit card business; plaintiff
       sought over $100 million in damages; resulted in complete defense verdict and award of
       costs to client.
    • Defended one of world’s largest sporting shoes and apparel companies in design patent
       case where plaintiff sought over $60 million in damages; resulted in summary judgment
       for client; affirmed on appeal by the Federal Circuit.
    • Coordinated defense of nationwide class actions over failed hard disk drives; resulted in
       very favorable settlement for client hard disk drive manufacturer.
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    •   Handled over 50 copyright, trademark, and trade secret matters for numerous clients,
        including leading toy company in California, famous entertainment institutions, and
        companies spanning all industries, ranging from insurance to video games to cosmetics to
        arts & crafts to tiles, etc.

Awards
  • BTI Consulting Group “Client Service All-Star 2016” (only 312 attorneys selected
     nationwide; only 30 attorneys were focused on practicing IP)
  • AV-rated by Martindale-Hubbell
  • Named by his peers to the 2018 list of Best Lawyers in America
  • World Trademark Review “Recommended Expert in Trademark Litigation” for 2015 to
     2017
  • “Super Lawyers” list by Thomson Reuters in 2011, 2012, 2013, 2014, 2016 and 2017 (both
     Southern and Northern California)
  • “2014 Top Rated Lawyer in Intellectual Property Law” by American Law Media and
     Martindale-Hubbell

Kevin Bringuel - Partner
Kevin Bringuel brings impressive trial and appellate experience to the firm. Kevin was formerly
associated with Quinn Emanuel Urqhart & Sullivan where he worked in several litigation areas
including intellectual property, employment, contractual disputes, and “white collar” criminal
defense. Following Quinn Emanuel, Kevin served for four years as a federal public defender,
followed by nine years handling capital cases in habeas corpus proceedings, after which he joined
LTL. As a result, Kevin is among the few attorneys who is a seasoned specialist in both trial and
appellate advocacy.

Kevin is a graduate of the University of Michigan Law School and serves as an adjunct professor
at Berkeley Law, where he teaches legal research and writing in the LL.M. program.

    Representative Experience
    • TRIALS: 20 trials to verdict. Achieved several prominent victories, including acquittals in
       cases with false confessions, and securing an appropriate sentence of 6 months/time served
       versus the 19 years that the government vigorously sought.
    • APPEALS: 21 appeals, with 9 Ninth Circuit arguments. Achieved affirmances of LTL
       victories in California Court of Appeals.
    • Co-lead counsel in seven-day federal jury trial in trademark case, prevailing on the verdict
       and post-trial motions.
    • Co-lead counsel in five-day federal bench trial in patent and breach-of-contract case,
       prevailing on all claims.
    • Co-lead counsel in three-day contempt proceeding in state court, earning acquittal of LTL’s
       client on all charges.
    • Achieved appellate reversals from the Ninth Circuit as well as the U.S. Supreme Court, as
       well as published victories regarding discovery from the California Court of Appeal and
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        the California Supreme Court. In one case, Kevin’s appellate brief persuaded the
        prosecutor to vacate the client’s conviction and settle for the defense’s pre-trial plea offer.
    •   Handled complex litigation in capital habeas proceedings, managing cases with thousands
        of witnesses and millions of pages of documents.

Caleb H. Liang – Partner
Caleb Liang is a partner in the business contingency practice group. He specializes in employment
litigation, complex litigation and class actions. He has successfully represented and defended
Fortune 500 companies in various employment and commercial disputes. He’s also represented
plaintiffs and class members in consumer and employment class/representative actions. From
2013 to 2020, Thompson Reuters recognized Caleb as a “Super Lawyers Rising Star.” He serves
on the board of directors for the Southern California Chinese Lawyers Association and the Asian
Pacific Alumni of UCLA.

Prior to joining LTL, Caleb worked at Kingsley & Kingsley APC in Los Angeles, California, a
well- known plaintiffs’ firm specializing in employment and class action litigation. He is a
graduate of the University of California, Davis – School of Law.

    Representative Experience
    • Obtained class settlement and class counsel designation in a wage and hour class action
       against a catering company.
    • Obtained a significant six-figure class settlement and class counsel designation in a wage
       and hour class action against a steel manufacturing company.
    • Obtained a significant six-figure class settlement and class counsel designation in a wage
       and hour class action against a car rental and service company.
    • Obtained class settlement valued at over $5 million and class counsel designation in a
       consumer class action against a nationwide calling card company.
    • Lead trial counsel obtaining full recovery of all requested damages after a five-day trial in
       an individual action recovering unpaid wages for overtime and breaks.
    • Obtained confidential resolutions for two separate employees in individual actions against
       an export import company for unpaid wages and sexual harassment.
    • Represented plaintiffs in a consumer class action alleging false advertising against
       Diamond Foods, Inc.
    • Defeated class certification in wage and hour class action involving manufacturing and
       recycling employees.
    • Defeated two separate class certification motions in wage and hour class actions involving
       types of nursing employees.
    • Obtained an Order Dismissing Class Allegations in several wage and hour class actions
       against a property management company.
    • Defended an insurance claims administrator against a class action lawsuit alleging
       employee misclassification that resulted in a favorable settlement.
    • Obtained $11.5 million class settlement and class counsel designation in a wage and hour
       class action against a dental laboratories company.
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    •   Trial counsel defending a well-known healthcare provider where plaintiff alleged a novel
        FEHA discrimination claim based upon her association with her disabled son and requested
        nearly $8 million in damages in a fourteen-day jury trial, but recovered just 6% of the
        requested amount in a split jury verdict (8-3).
    •   Lead trial counsel in a 5-week jury trial alleging discrimination and obtaining among the
        largest verdicts in the County in the past 20 years.

David Ammons – Partner
David Ammons is a partner in the firm’s commercial litigation and employment group. David is
an experienced trial attorney having first chaired 23 jury trials to verdict. As a former Deputy San
Francisco City Attorney, David has handled all facets of commercial and employment claims,
including several high-profile cases. Prior to joining the San Francisco City Attorney’s Office,
David was an associate at Schiff Hardin, Manatt Phelps, and Baker & Hostetler LLP. He was also
an adjunct professor at Golden Gate University School of Law.

David earned his J.D. from the University of Michigan and his B.A. from the University of
Southern California.

    Representative Experience
    • Lead counsel in breach of contract suit in which plaintiffs sought $2 million in damages;
       jury ruled 12-1 in Airport’s favor.
    • Prevailed in bench trial against commercial tenant resulting in six-figure damages and
       attorney’s fees award.
    • Obtained defense verdict in serious motor vehicle accident in which plaintiff sought more
       than $800,000 in damages.
    • Obtained defense verdict personal injury suit in which the Plaintiff sought more than $1
       million in damages.
    • Obtained defense verdict personal injury suit in which the Plaintiff sought in excess of $1
       million in damages.

Prashanth Chennakesavan – Partner
Prashanth Chennakesavan is a partner in the firm’s complex commercial litigation practice group.
He has represented clients in federal and state courts, and before arbitration panels, throughout the
country in a broad range of cases, including trade secrets, antitrust, intellectual property, and other
complex commercial litigation. Prashanth has managed all stages of litigation; he has developed
strategies and drafted initial complaints, prepared and responded to motions targeting the
pleadings, taken and defended depositions and coordinated discovery, prepared and responded to
dispositive motions, prepared examination outlines for trial, and prepared post-trial and appellate
briefs. He has also provided pre-litigation counseling to clients and successfully avoided disputes.

Before joining the firm, Prashanth was a litigation associate in the New York and Los Angeles
offices of Quinn Emanuel Urquhart & Sullivan, LLP.
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    Representative Experience
    • Obtained complete dismissal with prejudice of antitrust, contract, and unfair competition
       claims in the District of Oregon for a nationwide radio broadcaster.
    • Obtained summary judgment, and affirmance on appeal, of antitrust claim in California
       state court for a satellite television distributor.
    • Obtained favorable settlement in a trade secrets misappropriation action in Florida state
       court for a roofing supply distributor.
    • Successfully represented smartphone manufacturer in complex, multi-year intellectual
       property litigations in the Northern District of California.
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                Exhibit B
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                                                                                         Inception through July 24, 2020
                                                                                               LTL Attorneys LLP
Timekeeper                  Position               A           B              C            D          E           F           G          H            I           J          Total            Hourly Rate Lodestar
Enoch Liang                 Partner                      3.9                      10.0         10.0        0.0         21.6        3.0        2.8          12.5                        63.8   $       900 $    57,420
Caleb Liang                 Partner                      7.9                      39.2          2.4        3.1         65.4        5.9        4.1          45.3       16.3            189.6   $       850 $ 161,160
Prashanth Chennakesavan     Partner                      1.5                       5.4                                  0.8                                                             7.7   $       850 $     6,545
Alex Hu                     Associate                   25.4                      44.1         36.0       29.3        145.1       91.1     203.4          106.4                       680.8   $       800 $ 544,640
Dat Nguyen                  Associate                    0.7                                    1.1       18.3                    13.2     108.8           11.5                       153.6   $       750 $ 115,200
Blake Guerrero              Associate                    0.0                                              16.0                                                                         16.0   $       500 $     8,000
Melanie Tiongson            Associate                    1.6                                              81.1                    10.3       15.1           3.5                       111.6   $       250 $    27,900
Lizzie Dinh                 Associate                                                                     21.8          5.1                                                            26.9   $       250 $     6,725
Joshua Le                   Associate                                              2.5                                                                                                  2.5   $       250 $       625
Katie Tokushige             Paralegal                    7.6                       8.0                                                                                                 15.6   $       150 $     2,340
Erika Santoya               Paralegal                                              1.3                                                                                                  1.3   $       150 $       195
Neil Richardson             Paralegal                                                                                             0.7                                                   0.7   $       150 $       105
Grand Total                                          48.6             0.0       110.5         49.5      169.6       238.0       124.2       334.2       179.2        16.3            1270.1   $    732.90 $ 930,855
 % of Total Hours                                   3.8%           0.0%         8.7%         3.9%      13.4%       18.7%        9.8%       26.3%       14.1%        1.3%
 Lodestar                                    $    33,885 $          -     $   84,210 $     40,665 $   73,525 $   193,065 $    93,083 $   254,100 $   144,375 $    13,855 $       930,763
 % of Lodestar                                      3.6%           0.0%         9.0%         4.4%       7.9%       20.7%       10.0%       27.3%       15.5%        1.5%


                         Category Key
 A = Investigation, Research, Complaints
 B = TRO / Preliminary Injunction / Service
 C = Leadership / Intervention Motions
 D = Case Management, Client Updates
 E = Ongoing Research
 F = Non-Discovery Motions and Briefing
 G = Discovery Negotiations, Disputes, Briefing
 H = Discovery / Document Review
 I = Settlement Negotiations
 J = Settlement Approval, Class Member Communications
